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                    2345270830322759952
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Y9"g#bD86hi#96826$9"1i#)6$1b#$)e8C$p"28$1S898$4Y9"g#bD86h')b#8e)#8C$@248#268
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   Dated: May 23rd, 2018
                                   CHRISTOPHER S. SONTCHI
   Wilmington, Delaware
                                   UNITED STATES BANKRUPTCY JUDGE
